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Casel\lo. 255/17 C€/ Z?'é

 

 

MIDDLED!STRICT OF NORTH CARGLINA;

 

 

 

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blame of`.Defendant(s): ll EDIATOR

   

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or Placemem on the

 

 

 

CM/ECF Docket)

 

 

 

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_ Mediator Name:_ §jf¢/HY#‘§/f g /§/AAA/A)frt/ "`"=¢»¢.,..'__ .
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Teleph°“e NO: 35 62 " 3 ?¢f} " 9 356 - [l This is an Inter.im kepon't. A final report is to be
filed t after resumption of the mediation

 

 

E-MailAddress: - :}/\a/;<&¢/;f@ QA/. 6£/??
-/ . /

1. Convening ofMeciiation. The mediated settlement conference owen in this case:
tri/was held en /,j//£/M' (date)
[l was NOT held because

2. Attendanee 1 l -
' No objection Was made on the grounds thst any required attendee Was absent

 

 

l:f Obj ection _was made by

3. Qutcome y .

    

@//Cnmplete settlement oftl:ie ease §§ gv)¢£~f 71? 25§5~ W£/ QS£ .. . f B:».<I§M §§st
ny w N d! §§§ ls §?:w *'.'

lE’/Con:iitional settlement or other disposition
E Psrtisl settlement of the case
U Recess (i.e., mediation to be resumed at slater date)_

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4. Settiement Fiiings, l
(a) Tl:ie document(s) to be iiled to effect the settlement are

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(b) Tl)e person responsible for filing the document(s) is

 

(c) The agreed deadline for filing the doeurnent{s) is

Submission of Repoi‘t. Plesse submit the completed and signed report by mail to Clerlc of Court, 324 W.
Market St., G:reensboro, NC 27401, or, if a Consent to Transfer Doeulnents Electronically Form has been
submitted, submit the signed report to medelerk@nomd.nseourts.gov. ` -

 

l have submitted this 'completecl report Witlr ten §§8}4&§¢@ after oonclusion of the conference

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Mediator Srgnsture ij _ ' Dste

   

t Case 1:1?-Cv-00276-CCE-JLW Document 289 Filed 12/21/18 Paoe 1 ofl

 

